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                          UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                                ORLANDO DIVISION

MARK ANDRE,

       Plaintiff,

       v.                                        Case No. 6:16-cv-730-Orl-37GJK

JEH JOHNSON, SECRETARY,
DEPARTMENT OF HOMELAND
SECURITY, TRANSPORTATION
SECURITY ADMINISTRATION,

     Defendant.
_____________________________________/

             UNOPPOSED MOTION TO SUBSTITUTE REDACTED PAGES
                      INTO THE AMENDED COMPLAINT

       Pursuant to Local Rule 1.09 and 49 C.F.R. Part 1520, federal defendant, the

Secretary of the Department of Homeland Security, hereby moves to replace pages 5

and 6 of the Amended Complaint (Doc. 36) with the redacted pages attached to this

unopposed motion, and in support thereof states as follows:

       The Amended Complaint has been reviewed by the Transportation Security

Administration, which determined that pages 5 and 6 contain Sensitive Security

Information (SSI) as defined by 49 C.F.R. Part 1520. Specifically, that part of the

C.F.R. defines SSI to include documents "that identify persons as . . . [h]olding a

position as a Federal Air Marshal." Id. at ' 1520.5(b)(11)(i)(D). In order to protect the

identity of non-supervisory Federal Air Marshals, defendant requests pages 5 and 6 of

the Amended Complaint be replaced with the redacted pages attached to this motion,

which remove the full names of air marshals who work on domestic and international

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flights and replaces those names with their initials. While the Amended Complaint

contains names of other employees of the agency, they hold supervisory positions and

are not affected by the regulation cited above.

                                   Local Rule 3.01(g)

      Pursuant to Local Rule 3.01(g), counsel for defendant contacted counsel for

plaintiff about this motion, and he has no opposition to substituting the redacted pages

into the Amended Complaint.

                                        Conclusion

      For these reasons, federal defendant requests that pages 5 and 6 of the

Amended Complaint be replaced with the redacted versions attached hereto.



Dated: January 20, 2017                   Respectfully submitted,

                                          A. LEE BENTLEY, III
                                          United States Attorney

                                  By:     /s/ Scott H. Park
                                          Scott H. Park
                                          Assistant U. S. Attorney
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                                Certificate of Service

        I HEREBY CERTIFY that on January 20, 2017, I electronically filed the foregoing
document with the Clerk of the Court using the CM/ECF system, which will send notice
of the filing to the following CM/ECF participant:

      Archibald J. Thomas, III
      Law Office of Archibald J. Thomas, III, P.A.
      Florida Bar No. 231657
      4651 Salisbury Road, Suite 255
      Jacksonville, FL 32256



                                         /s/ Scott H. Park
                                        Assistant U. S. Attorney




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Plaintiff’s potential for promotion and ability to secure special assignments.

       20.     Prior to being issued the revised performance evaluation, Plaintiff reported instances

of discrimination to the appropriate individual at Defendant. Following this initial contact, Plaintiff

reached out to SAC Gary Milano to inform him that he had made initial contact, that he was going

to file a formal complaint of discrimination regarding SFAM Lemon, and appraised him of the issues

underlying his complaint.

       21.     Shortly after discussing his complaint with SAC Milano, it was announced that

SFAM Lemon would no longer supervise the squad to which Plaintiff belonged. SAC Milano took

such action on the basis of, among other things, Plaintiff’s concerns of discrimination.

       22.     During his time as Plaintiff’s immediate supervisor, SFAM Lemon treated Plaintiff

much differently than the personnel under SFAM’s Lemon’s supervision who were African-

American. Indeed, these individuals received higher evaluation scores than Plaintiff and, moreover,

received the greatest in position increases in pay and cash bonuses. SFAM Lemon also treated these

individuals more favorably than the other persons under his supervision. The African-American

Federal Air Marshall employees treated more favorably than Plaintiff included, D             B        ,

J      G          and A        H       . These three employees received the highest performance

ratings, greatest in-position pay increases, and highest bonuses of all employees under the

supervision of SFAM Lemon.          Moreover, Plaintiff was treated differently than these three

individuals regarding terms and conditions of employment including being held to a higher standard

on his performance evaluation. While Plaintiff was unjustly criticized for his work performance by

SFAM Lemon, the African-American employees were not criticized for performance deficiencies.

Moreover, Plaintiff was not treated with the same dignity and respect as the African-American


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employees with regard to even simple matters such as daily greetings in the office. The African-

American employees were consistently greeted with handshakes or fist-bumps by Lemon while in

Plaintiff’s presence. Plaintiff, on the other hand, even when standing in close proximity to SFAM

Lemon, would not be acknowledged. Other Caucasian employees, such as FAM D                  D       ,

experienced this same behavior from SFAM Lemon, including false allegations of misconduct, lower

performance appraisals, and the lack of respect and acknowledgment regarding daily greetings.

       23.     In addition, a picture of SFAM Lemon circulated through the Orlando field office of

SFAM Lemon wearing a painted on white face, which Plaintiff and other Caucasian employees

found to be offensive. Plaintiff also became aware of the fact that during this general time frame,

SFAM Lemon had posted a message on a public internet site where he complained about having to

deal with racism in his job as a government employee.

                                      COUNT I
                         DISCRIMINATION IN VIOLATION OF
                     TITLE VII OF THE CIVIL RIGHTS ACT OF 1964

       24.     Plaintiff hereby restates and realleges each and every factual allegation contained in

paragraphs 1- 23.

       25.     Plaintiff is the member of a protected class (race and color); was qualified for his

position with Defendant; and suffered adverse employment actions between October of 2014 and

January of 2015 and thereafter. In addition, Plaintiff was subjected to harassment and a hostile work

environment as described, supra, due to his race and/or color. Although Plaintiff’s second level

supervisor and the Supervisory Air Marshall in Charge were both Caucasian, neither of these

individuals took prompt remedial action to remedy Plaintiff’s complaint of harassment and they were

influenced to participate in the adverse actions by SFAM Lemon who possessed a discriminatory


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